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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UNITED STATES OF AMERICA,
               Plaintiff,

V.                                               )     CIVIL ACTION NO.

$263,176.00, MORE OR LESS,
IN UNITED STATES CURRENCY,
                                                 )

                                                 )
                                                 )
                                                         A16CVO2EH5
                      Defendant.                 )

                      NOTICE OF COMPLAINT FOR FORFEITURE

       1.     On March 2, 2016, a Verified Complaint for Forfeiture           in   rem was filed in this

Court by the United States Attorney for the Western District of Texas, against the below-

described property for violations of 18 U.S.C.   §   1956 and 21 U.S.C.   §   801 ci   seq.,   and subject

to forfeiture to the United States pursuant to 18 U.S.C.    §   981(a)(1) and 21 U.S.C.        §   881(a)(6),

namely:

                    $263,176.00 More or Less, in United States Currency

(hereinafter the "Respondent Properly").

       2.      Pursuant to Supplemental Rule G(4)(b), notice to any person who reasonably

appears to be a potential claimant shall be by direct notice. Accompanying this notice is the

Verified Complaint for Forfeiture which has been filed in this cause and which describes the

Respondent Property. Pursuant to Supplemental Rule G(4)(b), any person claiming an interest in

the Respondent Property who has received direct notice of this forfeiture action must file a

Claim, in compliance with Rule G(5)(a), with the court within 35 days after the notice was

sent, if delivered by mail (if mailed, the date sent is provided below), or within 35 days of the

date of delivery, if notice was personally served. An Answer or motion under Rule                   12   of the

Federal Rules of Civil Procedure must then be filed within 21 days of the Claim being filed.

                                                                                         APPENDIX A
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       The Claim and Answer must be filed with the Clerk of the Court, 501 W. Fifth Street,

Austin, Texas 78701, and copies of each must be served upon Assistant United States Attorney

Daniel M. Castillo, 816 Congress Avenue, Suite 1000, Austin, Texas 78701, or default and

forfeiture will be ordered.   See 18   U.S.C.   §   983(a)(4)(A) and Rule G(5) of the Supplemental

Rules for Admiralty or Maritime Claim and Asset Forfeiture Actions.

       Failure to follow the requirements set forth above will result in a judgment by default

taken against you for the relief demanded in the complaint.
